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                        UNITED STATES DISTRICT COURT
                         DISTRICT OF MASSACHUSETTS



   Select Hospitality, LLC
         Plaintiff
                                                    CIVIL ACTION
                V.
                                                    NO. 20-cv-11414 – NMG
 Strathmore Insurance Company
        Defendant


                              ORDER OF DISMISSAL


Gorton, D. J.


      In accordance with the Court's Memorandum and Order dated April 7, 2021, it is
hereby ORDERED that the above-entitled action be and hereby is dismissed.



                                             By the Court,


4/7/2021                                     /s/ Leonardo T. Vieira
Date                                         Deputy Clerk
